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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 ESTATE OF LAZARUS WILSON
 & TANYA WILSON,

                Plaintiffs,
                                                  2023-cv-1987-DLF
        v.

 THE DISTRICT OF COLUMBIA, et al.,

                Defendants.


                                  DEFENDANTS’ REPLY

       Defendants [Former] Interim Chief of Police Ashan Benedict, District of Columbia

(the District), and Metropolitan Police Department Commander Jason Bagshaw’s reply to the

plaintiffs’ opposition to their motion to dismiss and the District’s partial motion for summary

judgment.

                                      INTRODUCTION

       The plaintiffs have not satisfied their burden to stave off dismissal of this action with

prejudice. First, no viable a municipal liability claim has been raised against the District

under 42 U.S.C. § 1983. Second, Commander Bagshaw is entitled to qualified immunity on

the constitutional claim of excessive force and a privilege for the common law claim of

assault and battery. Third, no statute authorizes the gross negligence claim nor is that claim

supported by public policy. Fourth, because the plaintiffs’ Wrongful Death Act and Survival

Act claims are derivative claims, they are not actionable since no underlying claim may

proceed. Similarly, without an underlying claim, punitive damages are not available. Fifth,

the official-capacity suit against Chief Benedict cannot be maintained. Finally, the District
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withdraws its argument raised under D.C. Code § 12-309. While no letter was sent to the

Office of Risk Manager, the plaintiffs’ letter addressed the Mayor about their potential claims

at the very least creates a factual dispute on the notice issue.

                                          ARGUMENT

I.     The Plaintiffs’ § 1983 Municipal Liability Claims Against the District Cannot
       be Maintained.

       The plaintiffs’ argument that “the District is liable under § 1983 because there is an

affirmative link between the District’s Municipal Regulation 6-A200.4 and the excessive

force used against Mr. Wilson” because the District has an “official policy that MPD

officers “shall be held to always be on duty” and this policy “is the moving force behind

Commander Bagshaw’s immediate spring into action despite being out for dinner and

drinks with his wife” should be rejected. See Pl.’s Opp’n. at 4 [12]. And their reliance on

McComb v. Ross, 202 F. Supp. 3d 11 (D.D.C. 2016), is misplaced. According to Jackson,

“[l]ike in McComb the Plaintiffs asserts that MPD was deliberately indifferent in its failure

to train, supervise, and discipline Commander Bagshaw when he was tasked to act as on-

duty officer while being off-duty and sprang into action drawing his service weapon and

utilizing deadly force” and that “[t]his [] Court can reasonably infer that the District knew

or should have known the risk that Officers would violate the constitutional rights of others

when off-duty with their service weapons and authority to act as on-duty officers when

interacting with the public even when they’re off-duty and not subject to any supervision.”

See Pl.’s Opp’n. at 4-7. None of these arguments hold merit. First, Municipal Regulation

6-A200.4 did not lead to Mr. Wilson’s death. It provides:

       Members of the force shall be held to be always on duty, although
       periodically relieved from the routine performance of it; shall always be
       subject to orders from the proper authorities and to call from citizens; and


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       the fact that they may be technically off duty shall not be held as relieving
       them from the responsibility of taking proper police action in any matter
       coming to their attention requiring that action.

D.C. MUN. REGS. tit. 6A, § A200.4. Other than assert legal conclusions, the plaintiffs fail

to allege any facts to show that the District knew or should have known that 6A § A200.4

would cause them constitutional harm. Indeed, the plaintiffs have made no showing of

other situations that are analogous to the facts in and circumstances of this case that serve to

put the District on notice of the risk of harm as alleged. See Pl.’s Opp’n. And the plaintiffs

have pointed to no facts showing that the District caused their constitutional harm by giving

officers the authority to take proper police action when necessary. Id.

       Second, the facts in McCombs are totally different than the facts asserted by the

plaintiffs. In McCombs, to support his Monell claim, the plaintiff alleged that the officers

violated his constitutional rights when they repeatedly probed his rectum — an unlawful

body cavity search — with their fingers in search for contraband without probable cause to

do so. According to the McCombs plaintiff, “Officers Ross and Culver have an extensive

history of complaints involving similar conduct in the 33 months prior to the incident

involving plaintiff McComb, and listed eleven prior citizen complaints against them.”

McComb, 202 F. Supp.3d at 15, emphasis added. He further alleged that “[o]nly after the

United States Attorney’s Office began looking into the incident involving plaintiff

McComb and called MPD’s attention to the pattern of complaints against officers Ross and

Culver did MPD recognize the need for additional training.’” Id. at 17. Based on the

asserted allegations raised by the McCombs plaintiff, and in deciding the municipality

claim, the McCombs court determined that “the primary question is whether [the plaintiff]

has sufficiently pled ‘a direct causal link between a municipal policy or custom and the



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alleged constitutional deprivation.’” Id., citing City of Canton v. Harris, 489 U.S. 378, 385,

109 S.Ct. 1197, 103 L.Ed.2d 412 (1989). The McComb court explained the various ways in

which a custom, practice or policy could cause a constitutional deprivation and decided

McCombs had sufficiently pleaded municipal liability. Id. at 17. The court reasoned that

“[w]here plaintiff has alleged numerous instances of prior misconduct, similar to the

misconduct alleged here, the Court can plausibly infer that the District had actual or

constructive knowledge of the risk that the defendant officers would violate the

constitutional rights of its citizens in this manner.” McComb, 202 F. Supp. 3d at 18, citing

Singh v. District of Columbia, 881 F.Supp.2d 76, 87–88 (D.D.C.2012) (finding “the District

would have been aware of the risk of constitutional violations[] where plaintiff reported

police harassment on five separate occasions”). Cf. Blakeney v. O’Donnell, 117 F.Supp.3d

6, 12 (D.D.C.2015) (dismissing plaintiff's municipal liability claim where complaint alleged

only one instance of police misconduct—his own encounter with the defendant officers).

          Here, unlike the McCombs plaintiff, but like the Blakeney plaintiff, the plaintiffs

only identified one instance of misconduct allegedly committed by Commander Bagshaw

and, as explained above, the facts in this case do not mirror the facts in McCombs. As such,

this Court should follow the holding in Blakeney and dismiss this action.

          Finally, as the court in Monell v. New York City Dep't of Soc. Servs., 436 U.S. 658,

658 (1978), makes clear, there is no respondeat superior liability under § 1983. Rather, the

municipal policy, practice, or custom must be the “moving force” behind the alleged

constitutional injury. Id. Because the District cannot be held liable under Monell for the

allegations as raised against Commander Bagshaw, the plaintiffs’ municipal liability claim

fails.



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II.    Commander Bagshaw is Entitled to Qualified Immunity/Privilege.

       First, Commander Bagshaw was not required to comply with LCvR 7(h) in seeking

dismissal of plaintiffs’ § 1983 claim (Count I) or assault and battery claim (Count IV). See

Pl.’s Opp’n at 12-13. LCvR 7(h) provides that “each motion for summary judgment shall

be accompanied by a statement of material facts as to which the moving party contends

there is no genuine issue, which shall include references to the parts of the record relied on

to support the statement.” Here, Commander Bagshaw does not seek summary judgment.

See Defs’ Mot. at 10-13. Rather, Commander Bagshaw seeks dismissal of Count I and

Count IV; thus, there is no requirement that Commander Bagshaw submit a statement of

material facts as alleged by the plaintiffs. As such, the plaintiffs’ argument does not

warrant denial of Commander Bagshaw’s requested relief.

       Second, the plaintiffs’ excessive force claim under the Fourth Amendment fails as

illustrated by the standards explained by the court in Graham v. Conner, 490 U.S. 386, 396

(1989). While the plaintiffs argue that in determining whether Commander Bagshaw’s

actions were reasonable, the Graham court requires this Court to consider: “ (i) the severity

of the crime at issue; (ii) whether Mr. Wilson poses and immediate threat to the safety of

the officers or others, and; (iii) whether Mr. Wilson was actively resisting arrest or

attempting to evade arrest by flight,” the plaintiffs fail to recognize that the Graham court

explicitly states that, “[t]he ‘reasonableness’ of a particular use of force must be judged

from the perspective of a reasonable officer on the scene, rather than with the 20/20 vision

of hindsight.” See Graham, 490 U.S. at 396. And in conducting the analysis set forth under

Graham, the factors weigh in Commander Bagshaw’s favor. While the plaintiffs argue Mr.

Wilson did not pose a threat and Commander Bagshaw did not announce himself, these are



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conclusions reached by counsel, and do not show that Commander Bagshaw behaved

unreasonably, or utilized unreasonable force when he took police action. See Pl.’s Opp’n.

at 14-16. The seriousness of the crime as perceived by Commander Bagshaw is evident by

the allegations raised in the complaint. It is undisputed that Mr. Wilson was armed with a

weapon that he had pointed at another individual (a serious crime) when Commander

Bagshaw observed the interaction. See Compl. at ¶ 11 (“On or about the evening of July

16, 2022, off-duty Officer Bagshaw while dining at Bistro du Jour in Wharf area of

Washington, DC was alerted to commotion taking place outside of the restaurant”); Id. ¶¶

19-20 (When Commander Bagshaw stepped outside the restaurant, he observed Mr. Wilson,

who was armed, pointing a gun at an individual and he shot him.). An individual armed

with a weapon (a gun) pointed towards another person poses an immediate threat. Under

these circumstances as described by the plaintiffs, no reasonable jury could find that

Commander Bagshaw’s actions were unreasonable and dismissal of the plaintiffs’ § 1983

claim (Count I) is appropriate. Rogala v. District of Columbia, 161 F.3d 44, 54 (D.C Cir.

1999); Moody v. City of Newport News, Va., 193 F. Supp. 3d 530, 543 (E.D. Va. 2016)

(quoting Tennessee v. Garner, 471 U.S. 1, 11 (1985)) (“[A] reasonable officer may use

deadly force ‘[w]here the officer has probable cause to believe that [a] suspect poses a

threat of serious physical harm, either to the officer or to others.’”). Similarly, dismissal of

the plaintiffs’ assault and battery claim (Count IV) is warranted. Id.

III.    The Plaintiffs’ Gross Negligence Claims Fail.

        In support of their gross negligence claims proceeding absent statutory authorization,

the plaintiffs cite Carleton v. Winter, 901 A.2d 174, 181 (D.C. 2006), and argue that gross

negligent claims may proceed “where gross negligence is specific element of a claim or



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defense,” and when raised as “a matter of public policy to discourage aggravated wrongs.”

See Pl.’s Opp’n at 8. However, the analysis in Carleton pertains to contract law. And the

Carleton court explained that “[c]ourts do not enforce agreements to exempt parties from

tort liability if the liability results from that party’s own gross negligence, recklessness, or

intentional conduct.”). Carleton, 901 A.2d 137. The Carleton court did not permit the

plaintiffs to move forward with their gross negligence claims, but rather, limited the

enforceability of contracts that attempt to release parties who engage in reckless conduct

from liability. Id. The question of whether a plaintiff can proceed under a theory of gross

negligence in the District of Columbia has been definitively answered by the court in

Hernandez v. District of Columbia, 845 F. Supp. 2d 112, 115 (D.D.C. 2012). The

Hernandez court provides that “[t]he law of the District of Columbia does not recognize

degrees of negligence,” unless there is statutory authority authorizing it. Id. Here, there is

no statutory authority which allows for pleading gross negligence for the claims asserted by

the plaintiffs. Thus, dismissal of the gross negligence claims asserted in Counts II, III, V

and VI is appropriate. And the plaintiffs’ public policy argument fails. Unlike the plaintiff

in Carleton who would have been left without an avenue to correct a wrong, here, the

plaintiffs have pleaded liability under the constitution and at common law. As such, public

policy does not provide relief to the plaintiffs in this action.

IV.    The Plaintiffs’ Wrongful Death and Survival Act Claims Fail.

       The plaintiffs’ argument that they have a viable survival and wrongful death actions

“for all the reasons listed in the complaint and throughout this Memorandum” because

“Commander Bagshaw used excessive force against Mr. Wilson, and committed assault and

battery against Mr. Wilson,” and “Commander Bagshaw is not entitled to qualified immunity



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for his actions” should be rejected. See Pl.’s Opp’n at 19. As shown in the defendants’

motion to dismiss and in this reply, each of the claims asserted by the plaintiffs fail. And

because the plaintiffs’ Wrongful Death Act and Survival Act Claims (Counts II and V) are

both derivative claims, neither can survive where there is no underlying cause of action. See

Nelson v. Am. Nat'l Red Cross, 26 F.3d 193, 199 (D.C.Cir.1994) (“In the District of

Columbia, a wrongful death action is derivative in nature and under both wrongful death and

survival statutes, plaintiffs need a viable cause of action at time of death.”). Therefore,

dismissal of Counts II and V is appropriate because no viable claims can survive dismissal.

V.     The Plaintiffs’ Suit Against Chief Benedict in His Official-Capacity Fails.

       While the plaintiffs concedes that Count VII (Respondeat Superior) is not recognized

as a standalone claim, they argue that “all named defendants are proper defendants to this

action given the caselaw.” See Pl.’s Opp’n at 11. The plaintiffs’ argument lacks merit. Not

only is Respondeat Superior not a stand-alone claim, Chief Benedict is not an employer and

because the District is a party and has notice of this action — it has participated in this action —

this official capacity only suit against Chief Benedict cannot proceed. See Arnold v. Moore,

980 F. Supp. 28 (D.D.C. 1997) (dismissing District officials sued in their official capacity).

                                       CONCLUSION

       For these reasons, and the reasons stated in the defendants’ motion to dismiss and

the District’s motion for partial summary judgment, the Court should grant this motion.

Date: December 15, 2023                         Respectfully submitted,

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